
617 N.W.2d 326 (2000)
463 Mich. 889
Otto HYSLOP, Sr. and Helen Hyslop, husband and wife, Plaintiffs-Appellees,
v.
Jennie Denise WOJJUSIK, Defendant-Appellant.
Docket No. 116390, COA No. 222858.
Supreme Court of Michigan.
October 10, 2000.
On order of the Court, the application for leave to appeal from the February 2, 2000 decision of the Court of Appeals is considered and, pursuant to MCR 7.302(F)(1), in lieu of granting leave to appeal, we REMAND this case to the Court of Appeals for consideration as on leave granted.
MICHAEL F. CAVANAGH and MARILYN J. KELLY, JJ., would deny leave to appeal.
